     Case 09-33776-btb        Doc 308   Entered 01/28/11 14:51:39    Page 1 of 3



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 4   Las Vegas, NV 89117
     Tel: (702) 658-6100
 5   asmith@emblaw.com
     Attorneys for Debtor
 6
 7
                             UNITED STATES BANKRUPTCY COURT
8
                                      DISTRICT OF NEVADA
 9
                                              *****
10
11
      In re:                                        Case No.: 09-33776-bam
12
      EXECUTIVE PLASTERING, INC.,                   Chapter:    7
13
                           Debtor.
14                                                  Filed Electronically

15
                                                    Hearing Date:          February 15, 2011
16
                                                    Time:                  1:30 p.m.
17
     NOTICE OF NON-OPPOSITION TO PN, II, INC. d.b.a. PULTE HOMES OF
18
               NEVADA’S MOTION FOR RELIEF FROM BANKRUPTCY STAY
19
               NOTICE IS HEREBY GIVEN that the debtor, Executive Plastering, Inc., does
20
     not oppose PN II, Inc. d.b.a. Pulte Homes of Nevada’s Motion for Relief from
21
     Automatic Stay pursuant tothe following conditions:
22
               That such relief from the Automatic Stay shall be specifically and integrally
23
     conditioned upon recovery and/or contribution in Action, against Debtor/Respondent,
24
     shall come from Debtor/Respondent’s insurance coverage, and not from the assets of
25
     Debtor/Respondent’s bankruptcy estate. Furthermore, that Movants must waive any
26
     ///
27
     ///
28
     ///
     Case 09-33776-btb     Doc 308    Entered 01/28/11 14:51:39     Page 2 of 3


     and all claims arising from, or related to, the Action they, and each of them, may have
 1
     against the Debtor/Respondent’s bankruptcy estate, if any.
 2
           Dated this 28th day of January, 2011.
 3
                                ELLSWORTH, MOODY & BENNION
 4
 5                              By:_/s/ Andrew D. Smith________
                                  ANDREW D. SMITH, ESQ.
 6
                                  Nevada Bar No. 8890
 7                                7881 W. Charleston Blvd., Suite 210
                                  Las Vegas, NV 89117
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10                                Attorneys For Debtor

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     Case 09-33776-btb     Doc 308    Entered 01/28/11 14:51:39     Page 3 of 3



 1                             CERTIFICATE OF SERVICE

 2         I hereby certify that I am over the age of eighteen years and I am an employee of
 3   ELLSWORTH, MOODY & BENNION. On the 28th day of January, 2011, a true and
 4
     correct copy of the foregoing NOTICE OF NON-OPPOSITION TO PN II, INC.
 5
     d.b.a. PULTE HOMES OF NEVADA’S MOTION FOR RELIEF FROM
 6
     AUTOMATIC STAY was sent to all parties who have appeared in this case, via
 7
8    CM/ECF electronic transmission on the attached electronic mail notice list.

 9
10
11
                                /s/ Brandy Goodwin_____________________
12                              Employee of ELLSWORTH, MOODY & BENNION

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